993 F.2d 1535
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank Ervin ALTIZER, Jr., Plaintiff-Appellant,v.Edward W. MURRAY;  Virginia Department of Corrections,Defendants-Appellees.
    No. 93-6300.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 28, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-92-682)
      Frank Ervin Altizer, Jr., Appellant Pro Se.
      Reneen Evat Hewlett, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Frank Ervin Altizer, Jr., appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Altizer v. Murray, No. CA-92-682 (E.D. Va.  Mar. 5, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    